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July 10, 2023

Dear Honorable Judge,

| am writing on behalf of Larry A Clay Jr. | Have known Larry for 14 years on a personal level and ona
working level and he has been nothing less than of impeccable moral standing. Larry has always
possessed a great deal of integrity and constantly strives to make sure he is doing the right thing.

Please take in consideration of this letter with Larry’s honest character always holding to the highest
standards in his career that many others and | have seen in him thru the years, in no way could these
allegations be true. In all the years we have known Larry my family, friends and | never have seen
anything inappropriate in any way from him. Larry is truly a remarkable person.

| have known Larry to sacrifice his own safety during natures disasters thru the years in helping feed the
ones in need and carry many cases of water to the elderly. Always willing to do what it takes to help
when and where needed. His willingness to help the elderly speaks volumes and he is one of the few

who helped the disabled when no one else would. | know all of this to be true because | have seen
Larry do it.

My family and | have been business owners and we are of good moral character in our community.

Thank you,

Contact dor Naermoc to

~104- 573 - 7886
